Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 1 of 21 PagelD 4

IN THE: UNITED.STATES. DISTRIGT COURT "6 5 SAR es At Mk hh
FOR THE MIDDLE DISTRICT OF FLORIDA

FT. MYERS DIVISION

UNITED STATES OF AMERICA,
and THE: STATE OF FLORIDA,

éx tél. MARGARET PETERS, RN,,

PLAINTIFFS AND RELATOR,

PLING. Ore ING:
CIATION OF SOUTHWEST

ASSOCIASION. INC; HOPE MEMORIAL
CARE, ING! aid SAMIRA BECKWITH ,

DEFENDANTS.

CIVIL ACTION NO.

2: [0 -cV~ “tr -rem-94 Mem

FALSE CLAIMS: ACT
COMPLAINT AND DEMAND:
FOR JURY TRIAL

FILED IN CAMERA
AND UNDER.SEAL

Margaret Peters, R.N. (“Relator”) brings this action on behalf of the United ‘States of

Ammerica.(“United States") and. the-State-of Florida for treble danrages:and civil penalties arising

from the conduet of Defendants: Hope Hospice and Community Services, Inc;, f/le/a Hope of

SouthWest Hlotida, Inic., fd H:O.P-R, Of Lee Coutity, Inc. d/t/a Hope. Healthcare SetVices,

(collectively “Hope.Mospics” or “HEL"),. Visiting Nurses. Association Of Southwest Flerida, Inc,

Florida, Pace Association, Inc,,Hope Memorial Care, inc., and Samtita Beckwith $B") in

vislation of the Federal Civil False Claims. Act, 31 U.S.C. § 3729, et séq. (“FCA”). The

Violations arise Out of falsé élaims ‘for payment madé to Medicare, Medicaid, TRICARE, f/k/a

CHAMPUS and CHAMPUSVA, Federal Employees’ Health Benefits Program and other

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 2 of 21 PagelD 5

federally funded government healthcare programs (hereinafter, collectively referred to as
“Government Healthcare Programs”). This action is also brought under the gui tam provisions
of the Florida False Claims Act on behalf of the State of Florida.

I. BACKGROUND

‘1, “Hospice care is an approach to caring for the terminally ill individual that
provides palliative care rather than traditional medical care and curative treatment. Palliative
care is an approach that improves the quality of life of patients and their families facing the
problems associated with life threatening illness through the prevention and relief of suffering by
means of early identification, assessment and treatment of pain and other issues. Hospice care
allows the patient to remain at home as long as possible by providing support to the patient and
family, and by keeping the patient as comfortable as possible while maintaining his or her
dignity and quality of life. Hospice uses an interdisciplinary approach to deliver medical, social,
physical, emotional, and spiritual services through the use of a broad spectrum of caregivers.”
Federal Register / Vol. 73, No. 109. http://www.gpo.gov/fdsys/pke/FR-2008-06-05/pd£/08-
1305.pdf. 42 C.F.R, §418 et seq.

2. Under the Social Security Act (42 U.S.C. §§ 1302 and 1395hh, ef seq.), “An
individual is ‘terminally ill? if he or she has a medical prognosis that the individual’s life
expectancy is 6 months or less.” 42 U.S.C, § 1395x(dd)(3)(A). This definition is further clarified
at 42 C.F.R. §418.3 to provide for a life expectancy of 6 months or less “if the illness runs its
normal course.”

3. Hospice benefits have been included under Medicare Part A since 1982, covering
a range of services from pain management, bereavement counseling to a range of other palliative

care services to patients who have a terminal illness and have opted to forgo curative treatment.

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 3 of 21 PagelID 6

The focus is on making a patient and his family as comfortable as possible in the final months of
‘life.

4, Hospice is a multibillion-dollar nationwide industry, with extraordinary growth
rates over the last decade. Medicare payments to hospice programs have increased from approx-
imately $3 billion in 2000 to $15 billion in 2013.

5. ° The percentage of hospice patients covered by the Medicare hospice benefit
versus other payment sources was 87.2% in 2013. The percentage of patient days covered by the

“Medicare hospice benefit versus other sources was 91.2%!

6. Hope Healthcare Services is and has been owned and operated by SB for more
than twenty years, Hope Hospice operates through its various components in many Florida
communities including Charlotte, Collier, DeSoto, Glades, Hendry, Lee and Sarasota Counties,”

1 Hope Hospice has been a licensed home health agency, providing hospice health
care and support for the terminally ill. Services included nursing and home health SErvices as
well as continuing emotional and practical support provided by trained professionals in social
work, counseling and bereavement. Hope Hospice also operates multiple inpatient facilities
which they call “Care Centers,’

8. Over the years, Hope Hospice has seen dramatic growth, and has litigated against

Opposition to protect its growing “service” area. SB has grown Hope Hospice from providing |

l hitp://www.nhpco.org/sites/default/files/public/Statistics -Research/2014 Facts Figures.pdf

2 Programs include “Hope Comfort Care” in Charlotte, Collier, Glades, Hendry and Lee
Counties; “Hope Connections” in Glades and Hendry Counties, “Hope Hospice” in Glades,
Hendry and Lee, “Hope Pace” in Charlotte, Collier and Lee and “Hope Visiting Nurses” in
Charlotte, Collier, DeSoto, Hendry, Lee and Sarasota Counties.

https://www.hopehospice.ore/OfficeLocations/

> Joanne’s House at Bonita Springs, 27200 Imperial Parkway, Bonita Springs, FL 34135; Hope
Care Center at Cape Coral, 2430 Diplomat Parkway, Cape Coral, FL 33909; Hope Care Center at
HealthPark, 9470 HealthPark Circle, Fort Myers, FL 33908; and Hope Care Center at Lehigh
Acres, 1201 Wings Way, Lehigh Acres, FL 33936,

3

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 4 of 21 PagelD 7

services to one hundred patients to a health care conglomerate currently charging government
healthcare programs for more than two thousand individuals.*

9. As alleged herein, for more than seven years, Defendants have caused thousands
of false claims to be made on federal health care programs, primarily Medicare. Defendants
accomplished this by knowingly admitting and retaining patients who did not meet federal and
state eligibility criteria for hospice benefits. Hope Hospice knowingly admitted and retained
patients who were not “terminally ill;” provided general inpatient services (GIP) that were billed

at the highest reimbursement rates that were not medically necessary and that failed to meet
federal and Florida inpatient criteria; and falsified medical documents and patient records
including “Recertification Summaries” and other patient care records. The resulting false claims
caused the government to pay out funds that they otherwise would not have paid and unlawfully
enriched Defendants.

10. Based on her four years of experience as Director of Hospice Care at Hope
Hospice, Relator estimates that a large percentage of the general hospice census is not eligible
for hospice services and that an examination of patient records will reveal missing authorizations
and inadequate documentation, Relator believes that at any given time during her employment
by Hope Hospice, about 40% of all GIP patients (billed at the highest hospice reimbursement
rates) are not eligible to receive in-patient services under federal and state guidelines.

Il. FEDERAL JURISDICTION AND VENUE

11. The acts proscribed by 31 U.S.C. § 3729 et seq., and complained of herein

oceurred in the Middle District of Florida, and primarily in Lee County, Ft. Myers, Florida.

Other involved Counties are also within this District and all except one are located within the Ft.

* https:/Awww.hopehospice.org/leadership/

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 5 of 21 PagelD 8

Myers Division: Charlotte, Collier, DeSoto, Glades, Hendry, Lee and Sarasota (Tampa
Division). Defendants’ principal office is located at 9470 Healthpark Circle, Fort Myers, Florida
33908. The registered agent for service of process for the corporate Defendants is Robert J.
Griffin at the same address. The acts alleged in this complaint were committed in this district.
Therefore, this Court has jurisdiction over this case pursuant to 31 U.S.C. § 3732 (a), as well as
under 28 U.S.C. §1345.

12. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §
1391 because Defendant does business in Lee County, Florida. The Defendants transact
business in the Middle District of Florida and all of the acts and omissions proscribed by 31

U.S.C. §3729 et seq., occurred in the State of Florida.

13. Samira Beckwith is a resident of the district residing at ee

14. This court has jurisdiction over the subject matter of this action pursuant to 31
U.S.C, § 3732(a) and 28 U.S.C. § 1331 and has personal jurisdiction over Hope Hospice and its
related entities named herein because they do business in the Middle District of Florida. The Ft.

Myers Division is the appropriate Division of this Court to hear a case involving these

Defendants.

15. The facts and circumstances alleged in this complaint have not been publicly
disclosed in a criminal, civil or administrative hearing, nor in any congressional, administrative,
or government accounting office report, hearing, audit investigation, or in the news media.

16. _—_ Relator is an “original source” of the information upon which this complaint is

based, as that term is used in the False Claims Act.
Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 6 of 21 PagelD 9

TI. PARTIES

17. The United States funds the provision of medical care through Government
Healthcare Programs such as Medicare, Medicaid, Federal Employees’ Health Benefits Program,
TRICARE/CHAMPUS, CHAMPVA, and other agencies and programs, acting through the
Centers for Medicare & Medicaid Services (“CMS”) within the U.S. Department of Health and
Human Services (“HHS”), the Department of Defense, and other federal agencies.

18. The State of Florida funds a portion of Medicaid services and other healthcare
services utilized by Hope Hospice patients.

19. Relator Margaret Peters, R.N. is a citizen of the United States and a resident of the

- State of Florida, She is a registered nurse in Florida with a B.A. in Health Care Administration.

Peters was employed by Defendant Hope Hospice beginning in September 2011 and served as
Director of Hospice Care until December 4, 2015. In that capacity she was in charge of all four
Hope Hospice in-patient care facilities with one hundred beds and a staff of 200. She has been
employed in hospice care for over fifteen years. Relator left Hope Hospice voluntarily and in
good standing because of her concerns about the fraudulent admission and retention practices.

20. Defendant Hope Hospice and Community Services is a Florida for Profit Corpo-

ration with hundreds of employees and annual revenue of over thirty million dollars. It has a

current census of about 2000 patients with one hundred general inpatient (GIP) beds at its

various hospice care centers.
IV. INDIVIDUAL PARTICIPANTS

21. Samira Beckwith is the Chief Executive Officer and President of Hope Hospice.
SB implemented a “liberal” admissions policy which routinely admitted patients who did not

meet federal criteria for hospice care and, at the same time, vigorously discouraged required

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 7 of 21 PagelD 10

discharge planning. She intimidated staff into routinely admitting patients inappropriately into
GIP, particularly individuals known by staff as “Friends of Samira” (FOS). She frequently told
the Relator that “if they are entitled to hospice care they are entitled to GIP care.”

22. Jill Lampley — Chief Financial Officer.

23. Charlotte King - Chief Human Resources Officer

24. Bridget Montana — Chief Operating Officer, was Relator’s immediate supervisor.

25. Robert Griffin —- Chief Legal Officer

26. Luis Cortes, the Chief of Medical Services, supports and helps implement SB’s
improper admission and retention practices. Dr. Cortes has stated to staff in writing that General
Inpatient Care is proper if the primary caregiver is unwilling or unable to provide proper care in
the home setting. Of course, these are SB’s rules — not Medicare’s,

27. Cindy McKay — Executive Assistant to Samira Beckwith
V. THE FALSE CLAIMS ACT

28. The False Claims Act (hereinafter referred to as “FCA”), 31 USC § 3729, was
originally enacted in 1865, and was substantially amended in 1986 by the False Claims
Amendments Act, Pub.L. 99-562, 100 Stat. 3153. The FCA was further amended in May 2009
by the Fraud Enforcement and Recovery Act of 2009 (“FERA”) and again in March 2010 by the
Patient Protection and Affordable Care Act (“PPACA”). Both FERA and PPACA made a
number of procedural and substantive changes to the FCA in an attempt to ease the burden on the
government and Relators in investigating and prosecuting gui tam suits under the FCA.

29. The False Claims Act generally provides that any person who knowingly presents,
or causes to be presented, false or fraudulent claims for payment or approval to the United States

Government, or knowingly makes, uses, or causes to be made or used false records and

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 8 of 21 PagelD 11

statements material to a false claim, or conspires to engage in such conduct, is liable for a civil
penalty ranging from $5,500 up to $11,000 for each such claim, plus three times the amount of
the damages sustained by the Federal Government.

30. The Act allows any person having information about false or fraudulent claims to
bring an action for himself or herself and the Government, and to share in any recovery. Based
on these provisions, Relator seeks, through this action, to recover all available damages, civil
penalties, and other relief for the state and federal violations alleged herein.

31. This action is also brought pursuant to the Florida False Claims Act, FSA §68.803
which is similar in most regards to the Federal False Claims Act.

VI. FEDERAL HEALTHCARE PROGRAMS

32. In 1965, Congress enacted Title XVII of the Social Security Act (known as
“Medicare” or the “Medicare Program”) to pay for the cost of certain medical services and care.
Entitlement to Medicare is based on age, disability or affliction with certain diseases. See 42
U.S.C. §§1395 to 1395ccc. Outpatient prescription drugs are covered under Parts A-D of the
Medicare Program. .

33. In 1965, the Federal Government also enacted the Medicaid program. Medicaid
is the nation’s medical assistance program for the needy, the medically-needy aged, blind, and
disabied and families with dependent children. 42 U.S.C. §§ 1396-1396v. Medicaid is largely
administered by the states and funded by a combination of federal and state funds. The State of
Florida contributes roughly one-half of Medicaid funding with the federal government providing
the balance of the funding.

34. | Medicare is the nation’s health program for persons over 65 and the disabled.

Medicare is funded by the Federal Government.

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 9 of 21 PageID 12

35. Under the Medicare Act, 42 U.S.C. § 1395y(a)(1)(A), there is an express
fundamental condition of payment: “no payment may be made funder the Medicare statute] for
any expenses incurred for items or services which . . . are not reasonable and necessary for the
diagnosis or treatment of illness or injury.” This condition links each Medicare payment to the
requirement that the particular item or service be “reasonable and necessary.” Medicaid and
other federally funded programs restrict coverage under the same principle.

36. Medicare and the other federally funded programs require the submission of
documented and properly coded claims which include the implied or express representation that
the medical treatment, surgery or procedure was medically necessary.

Vil. HOSPICE CARE

37, When a Medicare (or other government health care) patient is diagnosed as being
terminally ill with a prognosis of less than 6 months to live, he may elect to obtain hospice care
instead of curative care. 42 C.F.R. §418.24. This election, made by the patient after being
advised of his rights, focuses on a family centered multidisciplinary approach to the process of
death. The care is described as “palliative” which is defined in 42 C.F.R. §418.3(3) as:

Palliative care means patient and family-centered care that
optimizes quality of life by anticipating, preventing, and treating
suffering. Palliative care throughout the continuum of illness
involves addressing physical, intellectual, emotional, social, and

spiritual needs and to facilitate patient autonomy, access to
information, and choice.

All other Medicare benefits are waived during the time of the election and unless it is revoked.

42 C.F.R. §418.24.

38. Federal Rules provide strict guidelines for Hospice providers, patients and care

because the Medicare per diem payment is costly to the government: approximately $170 per day

Case 2:16-cv-00006-SPC-MRM Document3 Filed 01/05/16 Page 10 of 21 PagelD 13

per patient enrolled. . 42 CER. §418.301 et seg. These conditions of participation include a
comprehensive assessment that identifies each potential patient’s need for hospice care and
services including the need for physical, psychosocial, emotional and spiritual care. 42 C.F.R.
$418.52.

39. Hospice rules provide and list the content requirements and time deadlines within
which the initial comprehensive assessment must be completed. 42 C.F.R. §418.54. Rules also
require updates of the comprehensive assessment by the hospice interdisciplinary group (in
collaboration with the patient’s attending physician, if any) which must consider changes that
have taken place since the initial assessment. This reassessment must be completed at least
every 15 days. 42 C.F.R. §418.54(d).

40. The purpose of these and other Hospice laws, rules and regulations are to insure
that only qualified patients are accepted by Hospice providers and patients who were initially
assessed as eligible, but are later found to be or become ineligible, be converted to more
conventional treatment and care providers. 42 C.F.R. §$§418.22; 418.25; 418.26(a)(2) and (3).

41. Recertification summaries must be completed by care providers every 60 days to
document the need for continued hospice care.

42. Each and every hospice care provider, as a condition of participation in the
program, must comply with all federal, state and local laws and regulations related to the health
and safety of patients. 42 C.F.R. §418.116.

43. | When a patient is no longer terminally ill, or fails to qualify because of
philosophical opposition to the nature of hospice care or refuses to accept any of the provided

services, Hospice care must be terminated and the patient discharged. 42 C.F.R. §418.26(a).

10

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 11 of 21 PagelD 14

44. General Inpatient Care is proper for patients in crisis with acute and
unmanageable symptoms.

VILL. SUBSTANTIVE CLAIMS

45. For two decades Hope Hospice has provided hospice and other medical services
to the Southwest Florida region. As Medicare and Medicaid payments for Hospice services
grew, Hope Hospice expanded its facilities and services.

46. Almost since its inception, Hope Hospice employed a liberal admissions policy
which regularly admitted patients who did not meet federal and state criteria for hospice care.
This included filling their care center beds by inappropriately placing patients in the most
expensive hospice reimbursement category of General Inpatient Care (GIP). Although
reimbursement rates vary somewhat geographically, Medicare pays about $150/day for routine
home care while GIP costs approximately $650/day.

47. Under this liberal admissions policy, many patients were admitted who, although
ill and perhaps requiring some assistance with the activities of daily living, were not terminally
ill with a prognosis of death within 6 months, In addition, based on the personal knowledge
gained during her work as Director of Hospice Care, Relator estimates that at any given time
about 40% of the Hope’s GIP census included patients who did not meet federal and state
eligibility for this highest level of care.

48. Relator has reported her concerns about these improper practices to management
of Hope Hospice including communications in a variety of emails in her possession.

49. Relator has many examples of patients who were placed in GIP inappropriately.
Of these, some did not meet federal criteria for routine home hospice care and at least two were

admitted on a regular basis over a ten year period. Relator has another example of a patient who

11

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 12 of 21 PagelD 15

was ultimately discharged after six years of hospice care. Of these examples, many are “Friends
of Samira.”
50. Relator states that the following are examples of hospice patients who were

improperly admitted, retained or placed in GIP care and who will be discussed in greater detail in

the written Disclosure:
A. WC;
B. SS;
C. WwW;
D. EF;
E. JE;
F TJ;
G EB;
H. ‘LH;
I PP;
J BM;
K MD;
RP

51. A former full-time doctor at the Cape House, the largest HH inpatient facility,
routinely protested the improper admission and retention practices. She now works part time for
HH and told the Relator, “You know how dishonest they are. You have enough information.
Why don’t you report them to the government? “

52. SB frequently told Relator that “Hospice patients who are dying all deserve to be

GIP, no matter how long they have to live.”

12

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 13 of 21 PagelD 16

53, Patients were admitted who did not want to forego curative medicine and who
wanted to continue treatment to prolong their lives. These patients did not meet hospice
eligibility criteria.

54, There was pressure on staff to meet ambitious admission quotas and, as a result
patients were admitted who did not meet Medicare/Medicaid criteria. Once admitted, there was
even greater pressure to retain patients whose conditions had improved or who were, in fact,
ineligible for hospice when they were admitted.

55. Nurses have complained to Relator that the pressure to meet “admission quotas”
corrupted the admission process.

56. Once admitted, it was extremely difficult to discharge a patient, even when it was
clear that he/she should not be receiving hospice services. Staff was afraid to recommend
discharge for any patient since SB made it clear that she did not want to discuss discharge or
discharge planning, particularly for FOS.

57. Patient records were falsified to justify the retention of hospice inappropriate
patients. Copying and pasting clinical findings from earlier examination records was common. .

58. A review or audit of patient files will reveal that there was no justification for the
admission or retention of many patients. The files are laden with “creative” misrepresentations
directed by management in order to “meet” federal and state regulations.

59. Dr. Felicia Stonedale is a former Medical Director at HH who now lives in Texas.
Dr. Stonedale currently works part time approving HH admissions Jong distance. She was

- Originally a team doctor when Relator started and soon took over as Medica] Director. Dr.

Stonedale would frequently complain to Relator about how illegal everything was that they were

13

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 14 of 21 PagelD 17

doing. She left for Texas after about one year. She recently told Relator that she was coming to
Florida to help train HH doctors and asked her “if anything had changed.”

60. A former doctor at Hope Hospice, who now works at Shell Point Retirement
Community in Ft. Meyers, FL, is also aware of the fraudulent admission and retention practices.
When Relator started work at HH this doctor told Relator: “They will eat you alive. Most
everything they do there is illegal and you won’t be able to stand it.”

61. A former doctor at Hope Hospice was forced to leave because he loudly protested
the inappropriate admission and retention practices.

62. A former doctor left Hope Hospice after four months because he refused to “pad”
patient charts to make it look as though they were declining.

63. The former Quality Officer at Hope Hospice left about two years ago after com-
plaining to SB about improper admission and retention practices. SB decided not to fill the
position.

64. Dr. Charles Newton, the doctor at Bonita House, has told Pat Svec, the Bonita
House Manager, to “find a reason” to improperly place patients into GIP status. Because of her
concerns over these improper admission and retention practices, Svec recently left HH to work at
Promise Hospital in Ft. Meyers, FL.

65. HH routinely admits patients into GIP if there is no willing caretaker at home or
if, in SB’s opinion, there is an “unsafe” environment at home. HH improperly charges the
highest in-patient reimbursement rates for these patients,

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14

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 15 of 21 PagelD 18

IX. CAUSES OF ACTION

COUNT I
FALSE CLAIMS ACT
FALSE CLAIM FOR PAYMENT OR APPROVAL
31 U.S.C. §3729(a)(1)(A) and (C) (2010)

66. Relator repeats and realleges each allegation contained in paragraphs 1 through 65
above as if fully set forth herein.

67. This is a claim for treble damages and penalties under the False Claims Act, 31
USS.C. § 3729, et seq., as amended.

68. The Corporate Defendants, by and through its officers, agents, employees, related
companies, subsidiaries and holding companies and Samira Beckwith, knowingly presented, or

_ caused to be presented, a false or fraudulent claim for payment or approval in violation of 31
U.S.C. § 3729(a)(1)(A)(2010).

69. The Corporate Defendants, by and through its officers, agents, and employees,
and Samira Beckwith authorized and encouraged the actions of its various officers, agents, and
employees to take the actions set forth above.

70. As a result of the acts of Defendants, the United States Government reimbursed
the Defendants and other physicians and hospitals for medically unnecessary hospice care,
services, and per diems that it otherwise would not have paid.

71. Every statement, billing and claim for payment submitted to the federal health
insurance programs for each and every hospice patient who was not terminally ill with a
prognosis of six months or less to live, if the illness runs its usual course or retained in hospice
care after recovery, substantial improvement and a new prognosis or who was otherwise

disqualified from hospice care represents a false or fraudulent claim for payment.

15

Case 2:16-cv-00006-SPC-MRM Document3 Filed 01/05/16 Page 16 of 21 PagelID 19

72. By reason of Defendants’ acts the United States has been damaged, and continues
to be damaged, in a substantial amount to be determined at trial. Federal health insurance
programs have paid for thousands of days of hospice care and costs that they otherwise would
not have paid for but for Defendant’ fraudulent and illegal conduct.

73. As set forth in the preceding paragraphs, Defendants have knowingly violated 31

U.S.C. § 3729 et seq. and have thereby damaged the United States Government. The United
States is entitled to three times the amount by which it was damaged, to be determined at trial,
plus a civil penalty of not less than $5,500 and not more than $11,000 for each false claim
submitted, paid or approved. -

WHEREFORE, Relator respectfully requests this Court enter judgment against

Defendants, as follows:

(a) That the United States be awarded damages in the amount of three times the
damages sustained by the United States because of the false claims alleged within
this Complaint, as the Federal Civil False Claims Act, 3] U.S.C. § 3729 et seq.
provides;

(b) That civil penalties of $11,000 be imposed for each and every false claim that

Defendant caused to be presented to the Government Healthcare Programs under
the Federal False Claims Act;

(c) That pre- and post-judgment interest be awarded, along with reasonable attorneys’
fees, costs, and expenses which the Relator necessarily incurred in bringing and
pressing this case;

(d) That the Relator be awarded the maximum amount allowed pursuant to the
Federal False Claims Act; and

(e) That the Court award such other and further relief as it deems proper.

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16

Case 2:16-cv-00006-SPC-MRM Document3 Filed 01/05/16 Page 17 of 21 PagelD 20

COUNT II
FALSE CLAIMS ACT
FALSE RECORDS OR STATEMENTS
31 U.S.C. §3729(a)(1)(B) and (C) (2010)

74. Relator repeats and realleges each allegation contained in paragraphs 1 through
65, above as if fully set forth herein.

75. This is a claim for treble damages and penalties under the False Claims Act, 31
US.C. § 3729, et seq., as amended.

76. The corporate Defendants, by and through its officers, agents, employees, related
companies, subsidiaries and holding companies and Samira Beckwith, knowingly made, used, or
caused to be made or used, false records or statements material to a false or fraudulent claim in
violation of 31 U.S.C. § 3729(a)(1)(B) (2010).

77. As set forth in the preceding paragraphs, Defendants’ provision of hospice care to
unqualified patients defrauded the United States by getting false and/or fraudulent Medicare and
other Government health care claims paid in violation of 31 U.S.C. § 3729(a)(1)(C) (2010).

78. The Corporate Defendants, by and through its officers, agents, and employees,
and Samira Beckwith authorized and encouraged the actions of its various officers, agents, and
employees to take the fraudulent actions set forth above.

79. As a result of the acts of Defendants, the United States Government reimbursed
Defendants for hospice care that it otherwise would not have paid.

80. Every statement, billing and claim for payment submitted to the federal health
insurance programs for each and every patient who received hospice care which failed to meet
the admission and retention rules and criteria was medically unnecessary and represents a false

or fraudulent statement.

17

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 18 of 21 PagelD 21

81. By reason of Defendants’ acts, the United States has been damaged, and continues
to be damaged, in a substantial amount to be determined at trial.

82. As set forth in the preceding paragraphs, Defendants have knowingly violated 31
U.S.C. § 3729 et seq. and has thereby damaged the United States Government. The United
States is entitled to three times the amount by which it was damaged, to be determined at trial,
plus a civil penalty of not less than $5,500 and not more than $1 1,000 for each false claim
submitted, paid or approved.

WHEREFORE, Relator respectfully requests this Court enter judgment against
Defendants, as follows:

(a) That the United States be awarded damages in the amount of three times the
damages sustained by the U.S. because of the false claims alleged within this
Complaint, as the Federal Civil False Claims Act, 31 U.S.C. § 3729 ef seq.
provides;

(b) That civil penalties of $11,000 be imposed for each and every false claim that
Defendant(s) caused to be presented to the Government Healthcare Programs
under the Federal False Claims Act;

(c) That pre- and post-judgment interest be awarded, along with reasonable attorneys’
fees, costs, and expenses which the Relator necessarily incurred in bringing and
pressing this case;

(d) That the Relator be awarded the maximum amount allowed pursuant to the
Federal False Claims Act; and

(e) That the Court award such other and further relief as it deems proper.

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Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 19 of 21 PagelID 22

COUNT If,

FLORIDAFLORIDA FALSE CLAIMS ACT
Florida Statute § 68.081

.83. Relator, acting in the name of and on behalf of the State of Florida, restates and
realleges each and every allegation contained in paragraphs 1 through 65 above as if each were
stated herein in its entirety and said allegations are incorporated herein by reference.

84. This is a claim for treble damages and penalties under the Florida False Claims
Act.

85. By virtue of the acts described herein, Defendants, for the purpose of defrauding
the Florida State Government, knowingly presented, or caused to be presented false or
fraudulent claims for payment or approval under Medicaid and other Florida State funded
programs, and made, used and caused to be made and used false records and statements material
to false claims.

86. Each claim for payment for an inadmissible hospice patient, or a patient who no
longer qualified for hospice care or whose records were falsified represents a false or fraudulent
claim for payment.

87. Each claim for payment for hospice care that contained false, inaccurate or
deceptive billing codes or other false statements constitutes a false or fraudulent claim because
such false claims are not covered by the Florida Medicaid program and other State health care
programs.

88. The State of Florida, by and through the Florida Medicaid program and other
State health care programs, was unaware of the falsity of the records, statements and claims
made or caused to be made by the Defendants and paid and continues to pay the claims that

would not be paid but for Defendants’ wrongful actions and omissions.

19

Case 2:16-cv-00006-SPC-MRM Document 3 Filed 01/05/16 Page 20 of 21 PagelID 23

89. Asa result, Florida state monies were lost through payments made in respect of
the claims and other costs were sustained by the Florida State Government.

90. Therefore, the Florida State Government has been damaged in an amount to be
proven at trial.

91, Additionally, the Florida State Government is entitled to the maximum penalty of
$10,000 for each and every false and fraudulent claim made and caused to be made by
Defendants and arising from Defendants’ conduct as described herein.

92. Relator is a private citizen with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Florida Statute § 68.081
on behalf of herself and the State of Florida.

93. This Court is requested to accept pendant jurisdiction over this related state claim
as it is predicated upon the same exact facts as the federal claim, and merely asserts separate
damages to the State of Florida in the operation of its Medicaid program.

WHEREFORE, Relator respectfully requests this Court enter judgment against
Defendants, as follows:

(a) That the State of Florida be awarded damages in the amount permitted by law; —

(b) That civil penalties of $11,000 be imposed for each and every false claim that
Defendant caused to be presented to the State’s Medicaid or other Government
Healthcare Programs under the Florida False Claims Act;

(c) That pre- and post-judgment interest be awarded, along with reasonable attorneys’
fees, costs, and expenses which the Relator necessarily incurred in bringing and
pressing this case;

(d) That the Relator be awarded the maximum amount allowed pursuant to the
Florida False Claims Act; and

(e) That the Court award such other and further relief as it deems proper.

20

Case 2:16-cv-00006-SPC-MRM Document3 Filed 01/05/16 Page 21 of 21 PagelD 24

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of Federal Rules of Civil Procedure, Plaintiffs and Relator hereby

demand a trial by jury.
Dated: January 4, 2016 Respectfully submitted,
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